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 7

 8                              UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN FRANCISCO DIVISION
11

12    SECOND MEASURE, INC., a Delaware             CASE NO.: 3:15-cv-03395-JCS
      corporation,
13
                                  Plaintiff,       DEFENDANT STEVEN KIM’S TRIAL
14
                                                   BRIEF
                       v.
15
                                                   REDACTED VERSION OF
      STEVEN KIM, an individual,                   DOCUMENT SOUGHT TO BE FILED
16
                                                   UNDER SEAL
                                  Defendant.
17
                                                   Judge: Hon. Joseph C. Spero
18                                                 Pretrial Conf: May 19, 2017
19                                                 Time: 2:00 p.m.
                                                   Courtroom: G, 15th Floor
20                                                 Trial Date: June 1, 2017
21

22    AND RELATED COUNTERCLAIMS.

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     MR. KIM’S TRIAL BRIEF                                           CASE NO.: 3:15-CV-03395-JCS
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 1 I.        INTRODUCTION
 2           Defendant and counterclaim-plaintiff Steven Kim respectfully submits this Trial
 3 Brief in connection with the trial set to commence in this matter on June 1, 2017.

 4           General Nature of the Dispute
 5           This case involves a dispute between two long-time friends and former business
 6 partners over a business they created together in September 2013. That business now goes

 7 by the name Second Measure, Inc., (“Second Measure”), and it is a plaintiff and

 8 counterclaim-defendant in this action. Although this case is in federal court, all of the

 9 substantive claims in this action arise under California state law, and specifically California

10 law as it relates to partnerships and the fiduciary duties that partners owe one another when

11 creating, operating and withdrawing from a partnership. The Plaintiff and counterclaim

12 defendants, Second Measure, Mr. Babineau and Ms. Chou, assert claims for declaratory

13 relief that overlap with the claims for damages being asserted by Mr. Kim. All of the

14 claims by all parties revolve around the ownership and operation of Second Measure.

15           Factual Background
16           Sadly, as noted above, this is a lawsuit between two persons that formerly
17 considered each other to be good friends. These friends, Mr. Kim and Mr. Babineau, co-

18 founded Second Measure in September 2013, with the dream of someday getting rich

19 together through hard work, perseverance and the complimentary nature of their respective

20 areas of expertise.

21           Mr. Kim is an investment professional with many years’ experience in the financial
22 markets. Mr. Babineau is a computer software engineer with experience working with and

23 managing large sets of data. Mr. Kim and Mr. Babineau co-founded Second Measure

24 together with the idea of using large sets of consumer credit card and bank transaction data

25 to identify potential changes in metrics that affect stock prices, and selling that data and

26 related services to hedge funds and venture investors wanting that kind of insight. Mr. Kim

27 wanted the name Second Measure and began advocating for that name shortly after the
28 business was founded because he believed it denoted musicality.
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 1           Given their respective professional backgrounds, they agreed that Mr. Babineau, as a
 2 computer engineer, would be responsible for enabling access to and organizing the large

 3 sets of consumer spending data that Second Measure planned to use. They agreed that Mr.

 4 Kim, as the investment professional, would be responsible for figuring out how the data

 5 should be applied. Both parties were inexperienced in entrepreneurship and lacked legal

 6 training, so they never created a written partnership agreement or similar document.

 7 Instead, as explained below, the parties worked together for nearly a year, often well past

 8 midnight and on the weekends, creating, testing and building their business.

 9           As explained below in the body of this brief, their actions were more than sufficient
10 to create a partnership under California law, despite the lack of a written partnership

11 agreement. Moreover, although not required to create a partnership, Mr. Kim and Mr.

12 Babineau also orally agreed that their respective interests in Second Measure would be

13 equal, with each of them owning 50% of the business. The two partners spent many

14 months working long hours on many occasions, organizing large data sets, and applying

15 various financial metrics that Mr. Kim formulated to the data. During this time they often

16 worked together until 2 a.m. or 3 a.m., tagging and organizing massive data sets for more

17 than 100 different companies. Like many young, Silicon Valley co-founders, they spent

18 hours working out of each other’s apartment as well as many hours together on internet

19 chat forums carrying on back and forth discussions regarding the best methodology and

20 metrics to interpret the data sets.

21           Consistent with their agreement to be equal partners in Second Measure, they split
22 the costs for running the business 50/50, including server costs and other related

23 infrastructure costs. Everything went well for about a year, until September 2014, when, as

24 explained below, Mr. Babineau decided that he wanted Second Measure for himself.

25           Even though they were longtime close friends and had spent many hours and late
26 nights together working as a team to make Second Measure a success, in September 2014,

27 Mr. Babineau, and his girlfriend Ms. Chou, who Mr. Babineau had brought into the
28 business to help with technical projects, wrongfully and physically shut Mr. Kim out of
                                                -2-
     MR. KIM’S TRIAL BRIEF                                             CASE NO.: 3:15-CV-03395-JCS
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 1 Second Measure by depriving him of access to computer servers and shared online

 2 applications to prevent him from doing any further work or accessing the work product he

 3 had created up to that date for Second Measure. Mr. Babineau and Ms. Chou thereafter cut

 4 off communication with Mr. Kim, while continuing to develop Second Measure’s business.

 5           After locking him out of Second Measure in September 2014, Mr. Babineau and Ms.
 6 Chou took the next step and wrongfully incorporated Second Measure in Delaware as their

 7 own business under the name Second Measure, Inc. They did so without Mr. Kim’s

 8 consent. Mr. Babineau and Ms. Chou also granted themselves large blocks of stock in the

 9 company, and now hold themselves out to the public as the sole founders and majority

10 owners of Second Measure. Mr. Babineau and Ms. Chou then solicited and received

11 venture investments in the business, and provided equity in the business to outside

12 investors. This was also done without Mr. Kim’s consent. To this day, Mr. Babineau and

13 Ms. Chou refuse to grant Mr. Kim any ownership interest in the business, and refuse to

14 recognize his status as a co-founder of Second Measure. They have also refused to share

15 any of the profits of the business with him.

16           Rather than recognizing Mr. Kim’s contributions to, and ownership interest in,
17 Second Measure, Mr. Babineau has from the outset taken the remarkable position that the

18 current Second Measure, Inc., the Delaware corporation, is a new and totally unrelated

19 business that he and Ms. Chou conceived of out of the blue, for the first time, after he

20 ejected Mr. Kim from the Second Measure partnership. This position is belied by numerous

21 documents, authored by Mr. Babineau, in which, at a time when it suited his interests, he

22 admitted to various third parties and investors that the corporation Second Measure and

23 the business he co-founded with Mr. Kim are the same business. Some of these documents

24 are discussed below. These documents will be presented at trial and will demonstrate

25 beyond any doubt the falsity of Mr. Babineau’s claim that the corporation Second Measure

26 is unrelated to the Second Measure partnership he co-founded with Mr. Kim.

27           Moreover, given the extreme similarity of the nature of the business of Second
28 Measure, Inc. to the Second Measure partnership, it belies credulity for Mr. Babineau to
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 1 claim that the corporation Second Measure is not a mere continuation, in incorporated

 2 form, of the Second Measure partnership he co-founded with Mr Kim. Both companies’

 3 business involves using large sets of consumer and credit card bank data to derive insights

 4 that could potentially affect stock prices. Both companies also sell their products and

 5 services to the same market of customers: hedge funds and venture investors.

 6           Today, Second Measure the corporation is a valuable and thriving business, thanks
 7 in large part to the work of Mr. Kim. Mr. Kim’s share of Second Measure was wrongfully

 8 taken from him in September 2014, and he will ask that the Court declare a constructive

 9 trust over the business and award Mr. Kim his rightful share of the company, and/or

10 substantial monetary damages for the losses he has suffered as a result of Mr. Babineau’s

11 conduct.

12 II.       THE EVIDENCE AT TRIAL WILL SHOW BEYOND ANY DOUBT THAT
             MR. KIM AND MR. BABINEAU FORMED SECOND MEASURE AS A
13           PARTNERSHIP UNDER CALIFORNIA LAW IN SEPTEMBER 2013.
14           We understand that Mr. Babineau will take the position at trial that he was never in a
15 business partnership with Mr. Kim. The evidence at trial will demonstrate otherwise.

16 Under applicable California law, a partnership is created when two or more persons carry

17 on as co-owners a business for the purpose of making a profit, even if the parties do not

18 intend to create a partnership, and even if they never execute a written partnership

19 agreement. See Cal. Corp. Code Section 1602(a) (defining a partnership as “the association

20 of two or more persons to carry on as co-owners a business for profit . . . whether or not the

21 persons intended to form a partnership. Where there is no agreement to form a partnership

22 “[a] . . . partnership may be . . . assumed to have been organized from a reasonable

23 deduction from the acts and declarations of the parties.” Second Measure, Inc. v. Kim, 143

24 F. Supp. 3d 961, 978 (N.D. Cal. 2015); citing Weiner v. Fleishman, 54 Cal. 3d 476, 492-83

25 (1991), see also Sterman v. Ziem (1936) 17 Cal.App.2d 414, 418, 62 P.2d 160, 162 (“A

26 partnership is defined in section 2400 of the Civil Code as an association of two or more

27 persons to carry on as copartners a business for profit. That a partnership may be created by
28 the agreement or conduct of the parties, either expressed or implied, has often been
                                                 -4-
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 1 recognized. [Citations]. “[T]he voluntary association of partners may be shown without

 2 proving an express agreement to form a partnership; and a finding of its existence may be

 3 based upon a rational consideration of the acts and declarations of the parties.”)

 4           The undisputed facts at trial will be more than sufficient to show that Mr. Kim and
 5 Mr. Babineau’s actions and conduct were legally sufficient to create an implied partnership

 6 in Second Measure.1 The facts will show that Mr. Kim and Mr. Babineau worked many

 7 hours together on Second Measure, that they each had their respective spheres of

 8 managerial responsibility, and that their goal was to make money off of Second Measure.

 9 We anticipate that these facts will be undisputed, and note that Mr. Babineau’s existing

10 deposition testimony would be, in and of itself, more than sufficient to establish the

11 formation of a partnership as a matter of law.

12           Mr. Babineau testified in his deposition that the ultimate purpose of the business was
13 to make money. Babineau Depo. Trs. At 31:16-20. Emails from Mr. Babineau in

14 discovery also demonstrate the existence of an implied partnership. When the business hit

15 a rough patch in September 2014, Mr. Babineau wrote to Mr. Kim on September 11, 2014,

16 stating that “[Data Provider 1] is our most important relationship and best opportunity we

17 have to get [Second Measure] going for real. Right now it doesn’t feel we are maximizing

18 our chances for success. How can we be better as a team?” (emphasis added.) Mr.

19 Babineau also sent an email the very next day expressing his intention that the purpose of

20 Second Measure was for the parties to “get rich together.” These emails, authored by Mr.

21 Babineau, demonstrate beyond any doubt that he believed that he and Mr. Kim were

22 working together as a team for the purpose of making money. As the authorities cited

23 above establish, this is sufficient to form a partnership under California law.

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26           1
            As noted previously, Mr. Kim also takes the position that the parties agreed orally
   to a 50/50 partnership in Second Measure. However, Mr. Babineau has denied that any
27 such oral agreement existed. The issue is however moot as the existence of an implied
   partnership will easily be proved at trial without regard to any express agreement among
28 the parties.
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 1           Mr. Kim also anticipates that one of Mr. Babineau’s primary trial themes will be his
 2 claim that not only did he and Mr. Kim never have a partnership, they never even had a

 3 business of any nature. We anticipate he will base this claim on his assertion that he and

 4 Mr. Kim’s business did not have profits or revenues before September 2014, it had only

 5 costs. Mr. Kim respectfully submits that any assertion by Mr. Babineau that a business that

 6 has only costs, and no revenues or profits, isn’t even a “business” of any nature borders on

 7 the absurd. Many well know technology companies are not profitable for years in the

 8 beginning and often have only costs, not revenues. In fact, this is the norm for technology

 9 companies in Silicon Valley.

10           Moreover, any claim that a business of any nature never even existed between
11 September 2013 and 2014 is belied by Ms. Chou’s counterclaims in this action. Ms. Chou

12 has filed counterclaims in this action alternatively claiming that during the time she

13 performed work from September 2013 until 2014, her rights as an employee under

14 California law were violated in that she was not provided with itemized wage statements

15 and that proper, legally mandated records of her employment were not kept. Of course, it is

16 difficult to understand how such alternative claims could possibly have been filed in good

17 faith if no business of any nature even existed.

18 III.      ONCE MR. KIM AND MR. BABINEAU FORMED A PARTNERSHIP
             CALIFORNIA LAW PROHIBITED MR. BABINEAU FROM EJECTING
19           MR. KIM FROM THE BUSINESS AND APPROPRIATING IT FOR
             HIMSELF
20
             As partners in a business, Mr. Babineau owed Mr. Kim a fiduciary duty of
21
     undivided loyalty, and that duty continued in certain critical respects even after Mr.
22
     Babineau shut Mr. Kim out of the business in September 2014. Specifically, the fiduciary
23
     duties that Mr. Babineau owed to Mr. Kim prohibited Mr. Babineau from ejecting Mr. Kim
24
     from Second Measure and appropriating the business and the business opportunities it was
25
     pursuing for himself. California law is clear that even after a partnership is dissolved or a
26
     partner withdraws, that partner has a continuing duty of loyalty “[t]o account to the
27
     partnership and hold as trustee for it any property, profit or benefit derived by the partner in
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                                                   -6-
     MR. KIM’S TRIAL BRIEF                                              CASE NO.: 3:15-CV-03395-JCS
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 1 the conduct and winding up of the partnership business or derived from a use by the partner

 2 of partnership property or information, including appropriation of a partnership

 3 opportunity.” Second Measure, Inc. v. Kim, 143 F. Supp. at 975; citing Cal. Corp. Code

 4 Section 16404(b).

 5           Thus, “[a] partner may not dissolve a partnership to gain the benefits of the business
 6 for himself, unless he fully compensates his copartner for his share of the prospective

 7 business opportunity.” Second Measure, Inc. v. Kim, 143 F. Supp. at 975. Mr. Babineau is

 8 simply not permitted, as a fiduciary, to throw Mr. Kim out of the business and thereafter

 9 keep the fruits of the thousands of hours of work that he and Mr. Kim put into the business

10 for himself. Interserve, Inc. v. Fusion Garage PTE. LTD., 2010 WL 3339520, at *6 (N.D.

11 Cal., Aug. 24, 2010) (“Fusion Garage argues that the terms of the parties’ joint venture

12 were simply too uncertain and unsettled to be enforceable. While it may be true that the

13 parties never reached a meeting of the minds on how the business would operate on an

14 ongoing basis, their cooperative efforts in developing the product were sufficient to give

15 rise to an obligation on both parties' part not to usurp the fruits of those efforts.”)

16 (emphasis added).

17 IV.       MR. BABINEAU BREACHED HIS FIDUCIARY DUTY OF LOYALTY TO
             MR. KIM BY INCORPORATING SECOND MEASURE UNDER HIS OWN
18           NAME AND CONTINUING THE BUSINESS WITHOUT MR. KIM.
19            We anticipate that Mr. Babineau, as he has done in the past in this litigation, will
20 argue that his conduct was lawful, asserting that he had the right to dissolve Second

21 Measure at any time and then “compete” with the partnership. Indeed, we anticipate that

22 this will be a major theme of Mr. Babineau’s defense to Mr. Kim’s claims. However, any

23 such contention is plainly contrary to California law. As the Court recognized earlier in

24 this case, the right to “compete” does not include the right to withdraw from a partnership

25 and appropriate partnership business. Second Measure, Inc. v. Kim, 143 F. Supp. 3d at 976

26 (“[e]ven if Babineau had withdrawn from the partnership in September 2014, the ongoing

27 obligations arising from his joint venture or partnership agreement would have prevented
28 him appropriating the business for himself.”)
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 1           This is an accurate statement of California law. The California Supreme Court has
 2 expressly held that a partner cannot dissolve or withdraw from a partnership (even

 3 lawfully) and then continue to pursue the business opportunity that the partnership was

 4 pursuing. Doing so constitutes a breach of the fiduciary duty of loyalty. As the California

 5 Supreme Court stated in the often-cited case of Leff v. Gunter, 33 Cal. 3d 508, 514 (1983)

 6
             The instructions advise the jury that a partner's duty not to compete with his
 7
             partnership with respect to a partnership opportunity which is actively being
 8           pursued by the partnership survives his withdrawal therefrom. Defendants
             have cited no contrary authority. Nor do defendants assert any persuasive
 9           reason in logic or principle which relieves a partner from such continuing
10           duty. There is an obvious and essential unfairness in one partner's attempted
             exploitation of a partnership opportunity for his own personal benefit and to
11           the resulting detriment of his copartners. It may be assumed, although
             perhaps not always easily proven, that such competition with one's own
12
             partnership is greatly facilitated by access to relevant information available
13           only to partners. Moreover, it is equally obvious that a formal disassociation
             of oneself from a partnership does not change this situation unless the
14           interested parties specifically agree otherwise. It is no less a violation of the
15           trust imposed between partners to permit the personal exploitation of that
             partnership information and opportunity to the prejudice of one's former
16           associates by the simple expedient of withdrawal from the partnership.
17
             Id. at 514. (emphasis added); see also Interserve, Inc. v. Fusion Garage PTE. LTD.,
18
     2010 WL 3339520, at *5 (“The flaw in this argument is that any partner or joint venturer
19
     generally does have the unilateral right to dissolve the relationship. The only caveat is that
20
     doing so does not immediately end the fiduciary duties, or the obligation of the dissolving
21
     party to “fully compensate[ ] his copartner for his share of the prospective business
22
     opportunity.”) (emphasis added.)
23
             California law therefore unquestionably supports Mr. Kim’s position that Mr.
24
     Babineau was not free to eject Mr. Kim from the partnership and appropriate the business
25
     and its business opportunities for himself, which is exactly what he did.
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     V.      SECOND MEASURE THE CORPORATION IS A DE FACTO
 1           CONTINUATION OF SECOND MEASURE THE PARTNERSHIP
 2           We anticipate that another major theme of Mr. Babineau’s defense will be his claim
 3 that the current iteration of Second Measure, which is a corporation, is a new and

 4 completely unrelated business that he created after he threw Mr. Kim out of the Second

 5 Measure partnership, and that Second Measure the corporation has no connection to Second

 6 Measure the partnership. The evidence at trial, including many admissions on this very

 7 point by Mr. Babineau, will show that this contention is utterly false. Documents authored

 8 by Mr. Babineau will be presented at trial showing that Mr. Babineau admitted in writing

 9 to various third parties that the current Second Measure is one and the same with the

10 Second Measure partnership he formed with Mr. Kim.

11           For example, shortly after incorporating Second Measure, Inc., Mr. Babineau
12 submitted an application on behalf of the company to join the incubator program

13 YCombinator. This application was submitted in March 2015, approximately 6 months

14 after he ejected Mr. Kim from Second Measure the partnership, but only a couple of

15 months after Second Measure the corporation was created in Delaware. [[SMI 00018551-

16 58]]

17           The application, which again was submitted on behalf of Second Measure the
18 corporation, asked certain questions about the history and founding of the applicant. For

19 example, the application asked Mr. Babineau the following about the history of the

20 company: “if you have already started working on it, how long have you been

21 working . . .?” Mr. Babineau stated in response: 1.5 years. [[SMI00018553.] As the

22 application was dated March 26, 2015, 1.5 years dates the founding of Second Measure to

23 September 2013 - - which is exactly when Mr. Kim and Mr. Babineau created Second

24 Measure as a partnership.

25           In response to another question, Mr. Babineau states that he and Ms. Chou were
26 already “working nights and weekends” on Second Measure the corporation in early 2014.

27 This of course is the exact timeframe when the evidence shows that Mr. Kim and Mr.
28 Babineau were working together on Second Measure the partnership.
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 1           Moreover, just two months after ejecting Mr. Kim from the business, on November
 2 14, 2014, Mr. Babineau openly admitted in an email to a new business associate that was

 3 asking for details about Second Measure that “we’re a year into a side project that’s about

 4 to become full time.” (Exhibit D) (emphasis added.) This is an admission that the Second

 5 Measure that existed as of November 2014 had actually been around for a year, which

 6 again places it right into the timeframe during which Mr. Babineau was working with Mr.

 7 Kim. Moreover, this admission was made months before Second Measure the corporation

 8 was created.

 9           Mr. Kim submits that these and other documents authored by Mr. Babineau
10 demonstrate beyond any doubt that Second Measure the corporation is a mere de facto

11 continuation of the business of Second Measure the partnership. When it was convenient

12 for Mr. Babineau to date the founding of Second Measure the corporation to September

13 2013 (the exact time he began working with Mr. Kim on Second Measure), he did so. It

14 was only after this litigation was filed that he changed his story and began claiming that

15 Second Measure the corporation represented a new and different business that he created

16 from scratch after he ejected Mr. Kim from Second Measure the partnership.

17
     VI.     IMPOSITION OF A CONSTRUCTIVE TRUST OVER SECOND MEASURE
18           AND/OR ITS EQUITY SECURITIES IS A PROPER REMEDY FOR MR.
             KIM’S CLAIMS FOR BREACH OF FIDUCIARY DUTY.
19

20           If Mr. Kim proves a breach of fiduciary duty at trial, the imposition of a constructive
21 trust over all ill-gotten gains by Mr. Babineau, including the business that he took from Mr.

22 Kim which now goes by the name Second Measure, Inc., and/or the equity securities of

23 Second Measure, Inc., is the proper remedy. Lund v. Albrecht (9th Cir. 1991) 936 F.2d

24 459, 464 (holding with respect to a partnership dispute that “[a] constructive trust is an

25 available remedy for constructive fraud and breach of fiduciary duty.”) In addition

26 “[c]onstructive trust is a remedy, not a cause of action” (id), and, even though it may be

27 equitable in nature, it is available without any showing that damages would constitute an
28 adequate remedy at law. Heckmann v. Ahmanson (1985) 168 Cal.App.3d 119, 134 (“[i]n
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 1 California, as in most jurisdictions, an action in equity to establish a constructive trust does

 2 not depend on the absence of an adequate legal remedy.”)

 3           Mr. Kim intends to prove at trial that Mr. Babineau breached his fiduciary duties to
 4 his partner Mr. Kim by wrongfully throwing him out of their business, wrongfully

 5 appropriating it for himself, and then incorporating the business under his name and Mr.

 6 Chou’s as Second Measure, Inc. The imposition of a constructive trust is an appropriate

 7 remedy in these circumstances.2

 8
     VII.    CONCLUSION
 9
              Counsel for Mr. Kim will be prepared to discuss these and other matters at the May
10
     19, 2017 pre-trial conference.
11
             Respectfully submitted.
12

13 DATED: April 18, 2017

14                                            THE LAW OFFICES OF THOMAS V.
                                              CHRISTOPHER
15
                                              By: /s/ Thomas Christopher__________
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18                                                        Counterclaim-plaintiff
                                                             STEVEN KIM
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                 In a prior meet and confer counsel for Mr. Babineau suggested that the court may
24 lack the power to impose a constructive trust since it was not specifically requested in any
     pleading. This contention has no merit as Federal Rule of Civil Procedure 54(c) expressly
25 provides that, except with respect to default judgments, “every final judgment should grant
     the relief to which each party is entitled, even if the party has not demanded that relief
26 in its pleadings.”) See Fed. R. Civ. Proc. 54(c) (emphasis added); see also PCO, Inc. v.
     Christensen, Miller, Fink, Jacobs Glasser, 150 Cal App. 4th 384, 398 2007 (“[a]
27 constructive trust however, is an equitable remedy, not a substantive claim for relief”)
     (emphasis in original). Moreover, Mr. Kim did pray for an award of an ownership interest
28 in Second Measure in his Counterclaim. See Counterclaim, Prayer.
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     MR. KIM’S TRIAL BRIEF                                              CASE NO.: 3:15-CV-03395-JCS
